UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BARBARA ANN HARTKE, on behalf of herself and
 the Estate of Gilbert V. Hartke,
                         Plaintiff,
                                                                          ORDER
                 -against-
                                                                    22 Civ. 3571 (PGG)
 BONHAMS & BUTTERFIELDS AUCTIONEERS
 CORPORATION and THE CATHOLIC
 UNIVERSITY OF AMERICA,
                         Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               For the reasons stated today in open court, Plaintiff’s motion for a preliminary

injunction (Dkt. No. 6) is granted.

               During the pendency of this action, Defendants Catholic University of America

and Bonhams & Butterfields Auctioneers Corporation, as well as their officers, agents, servants,

employees, attorneys, those in active participation with them, and any and all subsidiaries,

parents, affiliates, or divisions, are enjoined from:

   1. selling the Dress, at auction on May 24, 2022, or otherwise; and

   2. transferring, pledging, assigning, removing from a place of business, or otherwise

       disposing of the Dress.

Dated: New York, New York
       May 23, 2022
